Case 1:15-cv-07433-LAP Document 1320-14 Filed 01/03/24 Page 1 of 3




                     EXHIBIT 1
             Case 1:15-cv-07433-LAP Document 1320-14 Filed 01/03/24 Page 2 of 3




From:                           jeffrey E. <jeevacation@gmail.com>
Sent:                            Monday, January 12, 2015 10:03 AM
To:                             Gmax



you can issue a reward to any of virginias friends acquaionts family that come forward and help prove her
allegations are false the strongest is the clinton dinner, and the new version in the virgin isalnds that stven
hawking partica-ted in an underage orgy



     please note
The information contained in this communication is
confidential, may be attorney-client privileged, may
constitute inside information, and is intended only for
the use of the addressee. It is the property of
JEE
Unauthorized use, disclosure or copying of this
communication or any part thereof is strictly prohibited
and may be unlawful. If you have received this
communication in error, please notify us immediately by
return e-mail or by e-mail to jeevacation@gmail.com, and
destroy this communication and all copies thereof,
including all attachments. copyright -all rights reserved




                                                                                                '      EXHIBIT
                                                                                                ; Mu\/~d{? 1'7
                                                                                                I 1-22.-1 b 1,-f
                                                         1
                                                                                  PRIVILEGED GM __001065


                                                                                           CONFIDENTIAL
            Case 1:15-cv-07433-LAP Document 1320-14 Filed 01/03/24 Page 3 of 3




From:                           Ross Gow < ross@acuityreputation.com >
Sent:                           Tuesday, February 24, 2015 3:36 AM
To:                             G Max; Philip Barden
Subject:                        VR cried rape - prior case dismissed as prosecutors found her 'not credible'



Ghislaine

Some helpful leakage...

In today's Daily Mail print edition and on web
vvww.dailymail.co.uk/news/article-2965360/Prince-Andrew-s-sex-slave-accused-two-tcens-rape-three-years-
joincd-Jeffrey-Epstein-s-harem.html

and
www.nydailynews.com/ news/worJd/sex-slave-prince-andrew-accused-2-men-rape-1998-article-1.2125569
Mom told a detective "about her daughte r's past dmg abuse and also how many kids in Royal Palm Beach are
involved in drngs, witchcraft and animal sacrifice," according to a confidential repo1t by the Palm Beach
County Sheriff's Office.

best
Ross



Ross Gow
Managing Partner
ACUITY R eputation
23 Berkeley Square
London WI J 6HE

+44 (0) 777 875 5251 mob

+7 903 363 5393 MocKBa Mo6nnbHb1fr

www.acuityreputation.com


The information contained in this e-mail and any attachments is confidential and may be privileged or otherwise
protected from disclosure. It is intended solely for tbc attention and use of the named addrcsscc(s). If you arc
not the intended recipient, dissemination, copying or use of this e-mail and any attachments in whole or in part
is prohibited. If you have received the e-ma.il in error. please notify the sender and delete the e-mail and any
attachments from your computer system. Whilst any attachments may have been checked for viruses, you
should rely on your own vims checker and procedures. No responsib ility is accepted by ACUITY Reputation
Limited for loss o r damage arising from the receipt or use of this e-mail.




                                                                               CONFIDENTIAL GM_00577
